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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 1:24-cv-24089-CMA/Reid

   ELIZABETH SANTIAGO-DURAN,
   and all others similarly situated,

           Plaintiff,

   v.

   VANGUARD PARKING SOLUTIONS INC
   and PENN CREDIT CORPORATION,

         Defendants.
   ______________________________________/

                                        DISCOVERY ORDER

         THIS MATTER came before the Court upon two discovery matters as set forth in the

  Notice of Issues to be Discussed at Discovery Hearing [ECF No. 45], filed by Plaintiff Elizabeth

  Santiago-Duran (“Plaintiff”), pursuant to the Standing Discovery Order. The Court, having

  reviewed the relevant portions of the record, having heard argument of counsel for the parties and

  being otherwise duly and fully advised of the premises, it is hereby ORDERED AND

  ADJUDGED as follows:

         1.       Plaintiff’s motion to compel Defendant Vanguard Parking Solutions Inc.

  (“Defendant”), to disclose, as part of its required disclosures pursuant to Fed. R. Civ. P. 26(a), the

  identity of the person or entity for whom it was acting in purporting to issue the parking invoices

  at issue, is GRANTED, as follows:

         a.       By no later than 5 p.m. on January 16, 2025, Defendant shall (i) identify the person

                  or entity for whom it was acting in issuing the parking invoices at issue regardless
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                of whether such person or entity is or is not the owner of the parking garage – and

                (ii) produce a copy of the contract between Defendant and such person or entity.

         2.     Plaintiff’s motion to compel Defendant to respond to Plaintiff’s first set of

  interrogatories, requests for production of documents and admissions served December 6, 2024

  (the “Discovery”) is GRANTED, in part, and DENIED, in part, as follows, and Defendant’s

  Motion for Extension of Time to respond to the Discovery is GRANTED IN PART and DENIED

  IN PART as follows:

                a. Any and all objections that Defendant may have had with respect to the

                   Discovery have been waived; and

                b. On or before January 27, 2025, Defendant shall respond to the Discovery.

         SIGNED this 16th day of January, 2025.




                                                              LISETTE M. REID
                                                     UNITED STATES MAGISTRATE JUDGE


  cc:     Chief U.S. District Judge Cecilia M. Altonaga; and
          All Counsel of Record




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